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                                 Exhibit B

  SETTLEMENT AGREEMENT AND RELEASE, DATED AS OF AUGUST 26, 2022, BY
  AND AMONG (I) THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR
      PUERTO RICO, AS REPRESENTATIVE OF PREPA, AND (II) VITOL INC.
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                      SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (“Agreement”) is entered into and executed this
26th day of August, 2022 by and between the Financial Oversight and Management Board for
Puerto Rico (the “Oversight Board”), as the sole Title III representative of the Puerto Rico
Electric Power Authority (“PREPA”) pursuant to section 315(b) of the Puerto Rico Oversight,
Management, and Economic Stability Act (“PROMESA”)1, Vitol Inc. (“VIC”) and Vitol S.A.
(“VSA,” and together with VIC, “Vitol”), (collectively, the “Parties”).

        WHEREAS, on May 23, 2018, VIC filed a proof of claim in PREPA’s Title III Case2,
logged by Kroll Restructuring Administration, LLC (“Kroll”) as Proof of Claim No. 14537
asserting a general, unsecured, prepetition claim against PREPA in the amount of
$41,472,771.43 (the “Claim”).

         WHEREAS, on September 27, 2021, the Court in PREPA’s Title III Case
(the “Title III Court”) issued an opinion and order [ECF No. 77, (the “Opinion and Order”)]
partially granting and partially denying the Parties’ cross-motions for summary judgment in the
litigation styled PREPA v. Vitol Inc. et al., Adv. Proc. No. 19-00453 in Case No. 17-BK-3283-
LTS, D.P.R. (the “Law 458 Action”).

         WHEREAS, on November 2, 2021, the Title III Court entered final judgment in favor of
VIC against PREPA in the amount of $41,457,382.88 (the “Judgment”) on account of the same
liability asserted in the Claim. [ECF No. 82 in Adv. Proc. No. 19-00453.]

       WHEREAS, the Judgment and the Claim constitute duplicative pre-petition, general
unsecured claims against PREPA.

       WHEREAS, on December 2, 2021, the Oversight Board, as sole Title III representative
of PREPA, appealed the Opinion and Order to the First Circuit (the “Appeal”). See Fin.
Oversight Mgmt. Bd. v. Vitol S.A., et al., No. 21-1987 (1st Cir.).

        WHEREAS, the Parties now desire to resolve fully and finally any and all disputes
between or among them, known and unknown, observed or hidden, accrued and unaccrued,
existing up to and including the date on which this Agreement is executed concerning the Law
458 Action.

        In consideration of the covenants below, the Parties to this Agreement hereby knowingly,
willingly, voluntarily, freely, with the advice of counsel and without any coercion enter into and
agree, effective as of the date first written above, as follows:

        1.     Plan Agreements. From and after the date hereof, each Party shall carry out the
obligations specified for it below:

                  a. The Oversight Board shall cause PREPA to render its proposed plan of
1
       PROMESA is codified at 48 U.S.C. §§ 2101–2241.
2
       Bankruptcy Case No. 17- BK-4780-LTS.

                                                1
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                  adjustment (the “PREPA Plan”) and disclosure statement for PREPA (the
                  “Disclosure Statement”) consistent with the terms herein.

               b. VIC’s Claim shall be deemed allowed (not subject to any challenge,
                  objection, or revocation) in the aggregate amount of $41,457,382.88 and,
                  on the effective date of the PREPA Plan, VIC’s Claim shall be in a class in
                  which VIC (a) shall be paid a distribution on account of the Claim that
                  shall equal one half (50%) on a percentage basis of what the claims
                  receive in the class of non-bond general unsecured claims not for money
                  borrowed, and (b) shall automatically (without further documentation)
                  receive from PREPA and grant to PREPA the respective releases set forth
                  in section 4 below. If the PREPA Plan contains more than one class of
                  non-bond general unsecured claims not for money borrowed, VIC will
                  receive a distribution on account of the Claim that shall be equal to one
                  half (50%) of the average of the percentage distributions paid to claims in
                  such classes. For the avoidance of doubt, classes of claims for prepetition
                  fuel lines of credit and pension-related obligations shall not be included in
                  the calculation of such average percentage.

               c. The PREPA Plan shall classify the Claim separately from other general
                  unsecured claims against PREPA.

               d. PREPA shall include Vitol as an exculpated party under any PREPA Plan,
                  provided, however, the exculpation shall not exculpate Vitol of any claims
                  related to the action styled Special Claims Comm. v. Inspectorate America
                  Corp., Adv. Proc. No. 19-00388 in Case No. 17-BK-3283-LTS, D.P.R.

               e. Vitol shall not oppose approval of the Disclosure Statement, which
                  Disclosure Statement shall be in form and substance consistent with this
                  Agreement and not otherwise materially adverse to Vitol;

               f. Vitol shall not oppose confirmation of the PREPA Plan, which shall have
                  provisions relating to the treatment of the Claim reasonably acceptable to
                  Vitol and consistent with this Agreement and not otherwise materially
                  adverse to Vitol;

               g. Upon being solicited in accordance with the provisions of PROMESA,
                  Vitol shall submit a timely vote to accept the PREPA Plan (or any
                  subsequent plan of adjustment consistent with and not economically or
                  materially worse than the terms of this Agreement and not otherwise
                  materially adverse to Vitol); and

               h. Vitol shall not, nor encourage any other person to, take any action which
                  would, or would reasonably be expected to, breach or be inconsistent with
                  the terms herein, or impede or preclude, the filing of any PREPA Plan (or
                  any subsequent plan of adjustment consistent with and not economically
                  or materially worse than the terms of this Agreement and not otherwise

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                       materially adverse to Vitol), the administration of the PREPA Plan (or any
                       subsequent plan of adjustment consistent with and not economically or
                       materially worse than the terms of this Agreement and not otherwise
                       materially adverse to Vitol), entry of an order confirming the PREPA Plan
                       (or any subsequent plan of adjustment consistent with and not
                       economically or materially worse than the terms of this Agreement and
                       not otherwise materially adverse to Vitol), and achievement of the
                       effective date of the PREPA Plan; provided, however, that such
                       documents are consistent with the terms set forth herein concerning the
                       Claim and not otherwise materially adverse to Vitol.

       2.     Judgment; PREPA’s Appeal. The Judgment shall remain in full force and effect.
Within five (5) business days after the date hereof, PREPA shall withdraw, with prejudice, the
Appeal by causing the filing in the First Circuit of the stipulation of dismissal substantially in the
form attached hereto as Exhibit A.

        3.      Claim Adjustment. Within two (2) business days following entry of the
stipulation of dismissal by the First Circuit in PREPA’s appeal, PREPA shall notify Kroll of the
fact of this Agreement, with copy to Vitol, and Kroll shall be directed to adjust the Claim on the
claims register to the correct value of the Judgment in the amount of $41,457,382.88.

       4.      Releases.

                   a. Automatically on the effective date of the PREPA Plan, Vitol (and any
                      party claiming by, through, or under Vitol) does hereby irrevocably and
                      unconditionally release PREPA (and all of PREPA’s past and present
                      officers, directors, employees, agents, successors, assigns, shareholders,
                      owners, insurers, reinsurers, attorneys, purchasers and sellers, and all
                      parent, subsidiary and affiliate entities) and the Oversight Board (and its
                      members and executive director, its employees, and its advisors) from any
                      and all causes of action, demands or claims, known or unknown, accrued
                      or unaccrued, arising out of or relating in any manner whatsoever to the
                      Law 458 Action and any and all claims, known or unknown, which were
                      asserted or could have been asserted by Vitol in the Law 458 Action;
                      except, however, Vitol’s release does not extend to or include any claims,
                      rights, or defenses (whether ordinary or affirmative) of Vitol related to the
                      action styled Special Claims Comm. v. Inspectorate America Corp., Adv.
                      Proc. No. 19-00388 in Case No. 17-BK-3283-LTS, D.P.R. Vitol is not
                      releasing under this Agreement, and instead is expressly preserving, all of
                      its claims, rights, or defenses related to that action.

                   b. Automatically on the effective date of the PREPA Plan, PREPA (and any
                      party claiming by, through, and under PREPA) does hereby irrevocably
                      and unconditionally release Vitol (and all of Vitol’s past and present
                      officers, directors, employees, agents, successors, assigns, shareholders,
                      owners, insurers, reinsurers, attorneys, purchasers and sellers, and all
                      parent, subsidiary and affiliate entities) from any and all causes of action,

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                       demands or claims, known or unknown, accrued or unaccrued, arising out
                       of or relating in any manner whatsoever to the Law 458 Action and any
                       and all claims, known or unknown, which were asserted or could have
                       been asserted by PREPA in the Law 458 Action. For the avoidance of
                       doubt, PREPA’s release does not extend to or include any claims, rights,
                       or defenses of PREPA related to the action styled Special Claims Comm.
                       v. Inspectorate America Corp., Adv. Proc. No. 19-00388 in Case No. 17-
                       BK-3283-LTS, D.P.R. PREPA is not releasing under this Agreement, and
                       instead is expressly preserving, all of its claims, rights and/or defenses
                       related to that action.

        5.      All Parties to this Agreement expressly warrant they have not in any way
transferred, assigned, conveyed, mortgaged or granted any interest in the Claim or any claims
being released pursuant to this Agreement and will not in any way transfer, assign, convey,
mortgage or grant any interest in any such claims.

        6.      This Agreement constitutes the full and complete agreement between the Parties
in respect of its subject matter and supersedes all other prior oral or written actions or assertions.
This Agreement may not be revised, modified or revoked without the prior express written
consent of all Parties to this Agreement.

       7.     This Agreement shall be construed in its entirety and according to its plain
meaning. This Agreement shall be construed as a product of negotiations at arm’s length
between equally sophisticated persons advised by counsel and shall not be construed against the
Party who provided or drafted the Agreement or any provision hereof.

       8.      No Party waives or releases any right except as expressly set forth herein.

       9.      Each Party shall take such actions and sign such documents as are reasonably
necessary to carry out this Agreement.

        10.     This Agreement shall be construed, interpreted and enforced according to the laws
of the state of New York.

        11.   This Agreement may be executed in two or more counterparts, each of which
shall be deemed an original.

        12.     All demands, notices, requests, consents, and other communications hereunder
shall be in writing and shall be deemed to have been duly given (i) when personally delivered by
courier service or messenger, (ii) upon actual receipt (as established by confirmation of receipt or
otherwise) during normal business hours, otherwise on the first business day thereafter if
transmitted electronically (by e-mail transmission), by facsimile or telecopier, with confirmation
of receipt, or (iii) three (3) business days after being duly deposited in the mail, by certified or
registered mail, postage prepaid- return receipt requested, to the following addresses, or such
other addresses as may be furnished hereafter by notice in writing, to the following Parties:



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                   a. If to the Oversight Board or PREPA, to:

                       PROSKAUER ROSE LLP
                       Eleven Times Square
                       New York, NY 10036
                       Attn: Margaret A. Dale
                       Email: mdale@proskauer.com
                       Martin J. Bienenstock, Esq.
                       Email: mbienenstock@proskauer.com

                   b. If to Vitol, to:

                       SUSMAN GODFREY, LLP
                       1000 Louisiana Street, Suite 5100
                       Houston, Texas 77002
                       Attn: Neal S. Manne
                       Email: nmanne@susmangodfrey.com
                       Alexander L. Kaplan
                       Email: akaplan@susmangodfrey.com
                       Michael C. Kelso
                       Email: mkelso@susmangodfrey.com

      13.    Each person signing below represents he or she has the authority to execute this
Agreement and bind the Party to the terms of this Agreement.

       14.      Each Party represents that it has had an opportunity to confer with counsel of its
choice prior to executing this Agreement, and that it is entering this Agreement voluntarily.

         15.   The execution of this Agreement is not intended to be, nor shall it be construed as,
an admission or evidence in any pending or subsequent suit, action, proceeding or dispute of any
liability, wrongdoing, or obligation whatsoever (including as to the merits of any claim or
defense) by any Party to any other Party with respect to any of the matters addressed in this
Agreement. None of this Agreement (including the recitals and exhibits hereto), the settlement,
or any act performed or document executed pursuant to or in furtherance of this Agreement or
the settlement herein shall be admissible in any proceeding for any purposes, except to (1)
enforce the terms of this Agreement, (2) seek approval of the Disclosure Statement, and (3) seek
confirmation of the PREPA Plan.

       IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be
executed as of the date set forth above.




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                                 FINANCIAL OVERSIGHT AND
                                 MANAGEMENT BOARD FOR PUERTO RICO

                                 By:
                                 Name:        David A. Skeel, Jr.
                                 Title:       Oversight Board, Chairman




                                 THE PUERTO RICO ELECTRIC
                                 POWER AUTHORITY
                                 By: Financial Oversight and Management Board for
                                 Puerto Rico, as representative of the Puerto Rico
                                 Electric Power Authority

                                 By:
                                 Name:        David A. Skeel, Jr.
                                 Title:       Oversight Board, Chairman




                                 VITOL INC.

                                 By:
                                 Name:        Richard J. Evans
                                 Title:       SVP & CFO




                                 VITOL S.A.

                                 By:
                                 Name:        Gerald Delsad
                                 Title:       Managing Director




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                                 Exhibit A
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              United States Court of Appeals
                               For the First Circuit

No. 21-1987

 IN RE: THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR
 PUERTO RICO, AS REPRESENTATIVE FOR THE COMMONWEALTH OF
   PUERTO RICO; THE FINANCIAL OVERSIGHT AND MANAGEMENT
  BOARD FOR PUERTO RICO, AS REPRESENTATIVE FOR THE PUERTO
     RICO HIGHWAYS AND TRANSPORTATION AUTHORITY; THE
  FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO
RICO, AS REPRESENTATIVE FOR THE PUERTO RICO ELECTRIC POWER
        AUTHORITY (PREPA); THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE FOR
THE PUERTO RICO SALES TAX FINANCING CORPORATION, a/k/a Cofina;
    THE FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR
      PUERTO RICO, AS REPRESENTATIVE FOR THE EMPLOYEES
         RETIREMENT SYSTEM OF THE GOVERNMENT OF THE
  COMMONWEALTH OF PUERTO RICO; THE FINANCIAL OVERSIGHT
AND MANAGEMENT BOARD FOR PUERTO RICO, AS REPRESENTATIVE
        FOR THE PUERTO RICO PUBLIC BUILDINGS AUTHORITY

                                           Debtors.
        --------------------------------------------------------------------------------
 THE FINANCIAL OVERSIGHT AND MANGEMENT BOARD FOR PUERTO
 RICO, AS REPRESENTATIVE FOR THE PUERTO RICO ELECTRIC POWER
                          AUTHORITY
                                   Plaintiff – Appellant,
                                              v.
                               VITOL S.A.; VITOL, INC.,
                                 Defendants – Appellees.
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_________________________________________________________________

             STIPULATION OF DISMISSAL WITH PREJUDICE


      Pursuant to Federal Rule of Appellate Procedure 42(b), IT IS HEREBY

STIPULATED AND AGREED, by and between the parties, that this appeal be and

hereby is voluntarily dismissed in its entirety with prejudice. Each party shall bear

its own attorneys’ fees and costs.




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Dated: August [XX], 2022                      Respectfully submitted,

                                              /s/ DRAFT

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 Counsel to The Financial Oversight and Management Board for Puerto Rico, as
           representative of the Puerto Rico Electric Power Authority


                                              /s/ DRAFT

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Counsel for Vitol S.A.




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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rules of Appellate Procedure 32(g), the undersigned

counsel certifies that this document complies as follows:

      1.     This document complies with the type-volume limit of Federal Rule

of Appellate Procedure 27(d)(2)(A) because, excluding the parts of the document

exempted by Federal Rule of Appellate Procedure 32(f), this document contains 48

words.

      2.     The document complies with the typeface requirements of Federal

Rule of Appellate Procedure 32(a)(5) and the type-style requirements of Federal

Rule of Appellate Procedure 32(a)(6) because this document has been prepared in

a proportionally spaced typeface using Microsoft Word 2010 in 14 point Times

New Roman font. As permitted by Federal Rule of Appellate Procedure 32(g)(1),

the undersigned has relied upon the word count feature of this word processing

system in preparing this certificate.


Dated: August [XX], 2022
                                             /s/ DRAFT
                                             Timothy W. Mungovan




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this same date, I electronically filed the foregoing document with

the United States Court of Appeals for the First Circuit by using the CM/ECF system, which

electronically served a copy on all counsel of record.


Dated: August [XX], 2022August 23, 2022
                                                     /s/ DRAFT
                                                     Timothy W. Mungovan




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